            Case 1:22-cv-03097 Document 1-3 Filed 10/12/22 Page 1 of 4
                                                                         34.244                    !
                                                                         D.C. Superior Court
                                                                         09/O2/2022 94;0$M
     II                                                                  Clark of the Court
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                 IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA                                $
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     i                             Civil Division                                                 !
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     il}                                                                                          I
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     II
     hi    RANDY       EXAVIET   THOMAS               t                                           I
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     ii
           4201 Massachusetts Avenue, N..
     li,, Washington, D.c.           20016
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    H.,
    :3                                                                                         I!
                                    Plaint±ff
    u¡¡                                                                                        $




    it     vs.                                            Civil Action lo.
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1it
           WASHINGTON METROPOLITAN AREA
             TRANSIT AUTHORITY
                                                          2022 CA 004047 V
                                                                                              I~
           Washington,       D.c.  20001                                                      ì¡
li!        (Serve:        Susan Serrian, Rm. 2-D3
                                                                                              ±


                         Office of General Counsel                                            i
ti                        600 Fifth Street, N.W.
                                                                                              i


!                         ash±ngton, D.C.    20001)                                        I
                                                                                           l
                                    Defendant




                                                                                          l;
                                                                                          :
                                                                                          !
                                 {Negligence Personal Injuries)                           ¡


t                 TO THE HONORABLE, the Judges of the said Court:
h:
':
¡                 COMES NO the Plaintiff, RANDY EXAVIET THOMAS, by                        i

~          and through his undergignei attorney: and for cause of                         ¡:
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¡:         ~ction, respectfully :represents to tha honorable Court,!
i                                                                                         i
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 i'
           as follows:                                                                    !
                                                                                          ;
                                                                                          }
#                 1.     Jurisdiction     of this action is invoked by
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!:I,',_ virtue of th~ fact that the incident complained of
i?
        occurred in the District of Columbia; the Defendant                               I¡
:                                                                                         l
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3:
               Case 1:22-cv-03097 Document 1-3 Filed 10/12/22 Page 2 of 4


        I¡
        I
        ¡    operates its business in said District; and the
} amounts in controversy exceed $5,000.00 (Five Thousand
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·!
33           Dollars), exclusive of costs (Pit1e II, Sec. 921,
i!,          District of Columbia Code} .
It
                        Plaintiff further invokes the District of
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!¡I               2.   On or about September 17, 2021, Plaintiff was
}            a paying passenger on a Metrobus owned, operated
f:
i            and/or maintained by Defendant WASHINGTON METROPOLITAN
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• AREA TRANSIT AUTHORITY, and as attempting to alight
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             and exit from said Metrobus at the bus stop at Dupont
             Circle Subway Station, Washington, D.C..                  Plaintiff is
!
[} disabled, and relies upon a walker to ambulate.
•¡
                  3.   On said date and at said place, Defendant's
             bus was then and there being operated by an agent,
     I       servant and/or employee of Defendant, in the scopa of
t
i            his or her scope of employment; and Defendant, through
     } its employee driver, owad Plaintiff the duty of
     } exercising appropriate care in the operation,
     I}      maintenance and control of said Metrobous, including
ii
}} special care in the boarding and exiting of disabled
I
¡¡
¡¡8          passengers from said bus, such as Plaintiff herein.
i                 4.   As Plaintiff was exiting the stairs of said
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     I       bus as stated above, the said bus operator negligently
             failed to pull the bus close enough to the curb at
fi
ij           said stop; failed to lower/kneel said bus for the
 1¡
 } disabled Plaintiff, and was otherwise negligent
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    }        therein, creating a dangerous situation for Plaintiff
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 Case 1:22-cv-03097 Document 1-3 Filed 10/12/22 Page 3 of 4




caused to fall between the bus and the curb as he
stepped off the ius with his walker.
    5.    This incident was caused due to the negligence
of Defendant's agent/driver as aforesaid, in violation
of the duty to render special care for disabled
passengers such as Plaintiff, to ensure the safe exit
of Plaintiff from said Metrobus on that day.
    6.    Plaintiff was not negligent herein, and did
not contribute to the happening of said accident.                 I
                                                                  !3
    7.    Further, Defendant's agent/driver failed to
take the last clear chance to avoid this accident.            ¡
                                                               I
    8.    As a direct and proximate result of the             I
                                                              ¡,
negligence of Defendant through its driver as
                                                              ¡!
aforesaid, Plaintiff RANDY EXAVIET THOMAS sustained
serious, severe, pairul and permanent injuries; he
                                                              I
required Hospital and medical care and attention; he          I
incurred medical expenses; and he suffered other              I
detriments, including aggravation of previous medical
conditions, all to his great and serious damage and
loss.
    WHEREFORE, the premises considered, Plaintiff
demands judgment against Defendant WASHINGTON
METROPOLITAN AREA TRANSIT AUTHORITY, in the sum of
Four Hundred Thousand Dollars ($400,000.00) .
         Case 1:22-cv-03097 Document 1-3 Filed 10/12/22 Page 4 of 4
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íl   PLAINTIFF DEMANDS TRIAL BY JURY OF s:rx                                            I
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                                    Neil E. Nappo, Esq. #423294
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                                     ttorney for Plaintiff
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 715 Eighth Street, S.E.
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